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                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 UNITED STATES OF AMERICA                            §
                                                     §
                                                     § CASE NUMBER 6:20-CR-00052-JDK
 v.                                                  §
                                                     §
                                                     §
 RAMIRO ORTIZ PEREZ                                  §


                ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S
                     REPORT AND FINDING DEFENDANT GUILTY

             The Court referred this matter to the Honorable John D. Love, United States

      Magistrate Judge, for administration of a guilty plea under Federal Rule of Criminal

      Procedure 11. The Magistrate Judge conducted a hearing in the form and manner prescribed

      by Rule 11 and issued Findings of Fact and Recommendation on Guilty Plea. The Magistrate

      Judge recommended that the Court accept Defendant’s guilty plea and adjudge Defendant

      guilty on Count Two of the Superseding Indictment.

             The parties have not objected to the Magistrate Judge’s findings.

             The Court hereby ADOPTS the Findings of Fact and Recommendation on Guilty Plea

      of the United States Magistrate Judge. The Court also accepts Defendant’s plea but defers

      acceptance of the plea agreement until after review of the presentence report.

             In accordance with Defendant’s guilty plea, the Court finds Defendant Ramiro Ortiz

      Perez GUILTY of Count Two of the Superseding Indictment, charging a violation of Title

      18 U.S.C. § 922(g)(5) – Alien in Possession of a Firearm.

             So ORDERED and SIGNED this 12th day of January, 2021.



                                                       ___________________________________
                                                       JEREMY D. KERNODLE
                                                       UNITED STATES DISTRICT JUDGE
